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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION

GARY BURRELL and ANTOINE LEE,                            C.A. No.: 0:18-cv-00508-DCC
on behalf of themselves and others
similarly situated,

                 Plaintiffs,
                                                   MOTION FOR EXTENSION OF TIME
                                                    TO RESPOND TO THE DEADLINES
v.                                                ESTABLISHED BY THE COURT IN THE
                                                  ORDER OF CONSOLIDATION AND ON
                                                    MOTION FOR CERTIFICATION OF
                                                         COLLECTIVE ACTION
GUSTECH COMMUNICATIONS, LLC,

                 Defendant.

ROBERT WESTBERRY, and JARED                              C.A. No.: 0:18-cv-02043-CMC
STUBBLEFIELD, individually, and on
behalf of all others similarly situated under
29 USC 216(b),

                 Plaintiffs,

v.

GUSTECH COMMUNICATIONS, LLC,
and GUSTAVO SANTAMARIA,
Individually,

                 Defendants.

       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Local Civil Rule 6.01,

the defendant, Gustech Communications, LLC moves the Court for an additional ten (10) days to

respond to the deadlines set by the Court in the Order of Consolidation and on Motion for

Certification of Collective Action in Burrell and in the Order of Consolidation in Westberry. In

support of this Motion, Gustech Communication, LLC states the following:
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           1. The Court’s Order of Consolidation and on Motion for Certification of Collective

              Action in Burrell and Order of Consolidation in Westberry were entered on

              October 4, 2018.

           2. The Court’s Order established the following deadlines:

                     October 11, 2018: Deadline for local counsel to make an appearance for
                      the defendants in the Westberry case.
                     October 18, 2018: Deadline for the parties to confer on the Motion for
                      Conditional Certification.
                     October 25, 2018: Deadline for one of the two following things to occur:
                      (1) plaintiffs are to file a supplemental Brief if there is no agreement
                      between the parties on the Conditional Certification issue, or (2) the
                      parties jointly are to file a proposed Notice if there is agreement.
                     November 2, 2018: If there is no agreement reached by the parties on the
                      issue of Conditional Certification, the defendants can reply to the
                      plaintiff’s supplemental Brief.
       To date, the firm of Gallivan, White & Boyd, P.A. has not been retained by the

defendants in the Westberry case; however, we are seeking a brief extension of time on behalf of

Gustech Communications, LLC in both cases and on behalf of Gustavo Santamaria in the

Westberry case to allow the defendants sufficient time to consider how to proceed with the

retention of local counsel in Westberry.    The defendants asked the plaintiffs to consent to a

twenty-one (21) day extension of time for the defendants to file a Notice of Appearance in the

Westberry case; however, the plaintiffs did not agree to the defendants’ request for an extension

of time. (See e-mail from David Rothstein dated October 10, 2018, attached hereto as

Exhibit 1).

       WHEREFORE, Gustech Communications, LLC and Gustavo Santamaria respectfully

request that the Court extend the deadline for local counsel to make an appearance in the

Westberry case until October 22, 2018, that the Court extend the deadline for the parties to

confer on the Motion for Conditional Certification to October 29, 2018, that the Court extend the



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deadline for the plaintiffs to file a Supplemental Brief or for the parties to jointly file a proposed

Notice to November 5, 2018, and if no agreement is reached by the parties on the issue of

Conditional Certification, that the deadline for the defendants to file a reply to the plaintiffs’

Supplemental Brief be extended to November 12, 2018.            This request is made to allow the

defendants time to consider how to proceed with retention of local counsel in Westberry and to

allow the firm ultimately obtained as local counsel time to confer on the Motion for Conditional

Certification and/or to agree to a proposed Notice or respond to a Supplemental Brief of the

plaintiffs.

                                               Respectfully submitted,

 October 11, 2018                              s/Deborah Casey Brown
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